                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )      NO. 3:12-00013
                                                 )      JUDGE CAMPBELL
MANILA VICHITVONGSA, et al.                      )

                                          ORDER



       Pending before the Court Defendant Jessica Parker’s Motion for Extension of Pre-Trial

Motions Filing Deadline (Docket No. 218). The Motion is GRANTED.

       The deadline for filing any pretrial motion is extended to November 15, 2012, for ALL

Defendants.

       The status conference currently scheduled for November 5, 2012, is RESCHEDULED for

November 26, 2012, at 1:00 p.m.

       It is so ORDERED.

                                                 ____________________________________
                                                 TODD J. CAMPBELL
                                                 UNITED STATES DISTRICT JUDGE




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